Case 2:04-cv-03016-.]PI\/|-STA Document 5 Filed 07/21/05 Page 1 of 3 P§ge|D 4.

IN THE UNI‘I‘ED sTATEs DISTRICT coURT t . 20
FoR THE WESTERN DISTRICT oF TENNESSEQB _JUL 21 mm'
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KEVIN MILLEN,
Plaintiff,

VS. No. 04-3016~Ml/An

FRIEDMAN’ S , INC . ,

Defendant.

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ORDER DENYING MOTION FOR RECONSIDERATION
AND
SECOND ORDER DIRECTING PLAINTIFF TO PAY THE CIVIL FILING FEE

 

Plaintiff Kevin Millen filed a pro §§ complaint pursuant

to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e §_

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seg., and the Americans with Disabilities Act, 29 U.S.C. § l2lll e

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§ggp, on December 15, 2004, along with a motion seeking leave to
proceed ip fp;m§ pauperis. As the Plaintiff’s motion to proceed ip
§p;m§ pauperis contained no information concerning his nmnthly
income, assets, and financial obligations, the Court issued an
order on May ll, 2005, denying leave to proceed ip §pppg pauperis
and directing the Plaintiff to pay the $150 civil filing fee within
thirty days.

On May 24, 2005, Plaintiff filed another motion, entitled
“Order Asking for Leave to Use In Forma Pauperis And Order
Directing Defendants to Pay Monetary funds [sic] Owed to

Plaintiff,” which the Court construes as a motion seeking

Thls document entered on the docket sheet tn comptlance
with Ftule 58 and/or 79(a) FRCP on ’

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reconsideration of the decision denying leave to proceed ip §p;ma
pauperis. Nothing in the Plaintiff's motion provides any basis for
reconsidering the Court’s previous order. In particular, the
Plaintiff's motion contains no financial information demonstrating
that the Plaintiff is unable to pay the civil filing fee or give
security therefor, as required by 28 U.S.C. § 1914. The other
factors cited by the Plaintiff, such as the time and effort he is
willing to put into the case and the uses to which he would put any
funds received in the event he prevails on the merits, are not
relevant to the question of whether the Plaintiff is entitled to
proceed ip fp;ma pauperis.

Accordingly, the Court DENIES the Plaintiff's motion for
reconsideration. This decision is final. If the civil filing fee is
not paid by August 5, 2005, this action will be dismissed, without

prejudice, for failure to prosecute.

IT le so oRDERED this _éQ_ day of July, 2005.

wm fill

JO PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

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UNITS,ED`ATE DISTRICT C URT WESTE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:04-CV-030]6 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

Kevin Millen
4104 Stillwood Dr.
Memphis7 TN 38128

Honorable Jon McCalla
US DISTRICT COURT

